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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     LOOP AI LABS INC,                                 Case No. 15-cv-00798-HSG
                                   8                    Plaintiff,                         ORDER DENYING REQUEST FOR
                                                                                           CLARIFICATION
                                   9             v.
                                                                                           Re: Dkt. No. 1027
                                  10     ANNA GATTI, et al.,
                                  11                    Defendants.

                                  12          Defendant IQSystem, Inc. filed a request for clarification of the Court’s March 7, 2017
Northern District of California
 United States District Court




                                  13   Order imposing terminating sanctions on Plaintiff. See Dkt. No. 1027. The Court DENIES

                                  14   Defendant’s request, because nothing in its March 7, 2017 Order in any way changed the May 9,

                                  15   2016 Order granting Plaintiff fees based on the SLAPP motion. See Dkt. No. 993.

                                  16          The Court also reiterates that Valeria C. Healy is not admitted to practice in any case

                                  17   before the undersigned. Id. at 30 (“[T]he Court exercises its discretion to revoke Healy’s pro hac

                                  18   vice admission in this case and will not grant such admission in any future cases before the

                                  19   undersigned.”). She thus is not permitted to file documents on behalf of Plaintiff, and should not

                                  20   do so again. In addition, Ira Leshin has not filed a Notice of Appearance before this Court, and

                                  21   will not be permitted to evade the local rules going forward by having prior counsel file

                                  22   documents in this case. See Local Rule 5-1(c)(2).

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                                  24          IT IS SO ORDERED.

                                  25   Dated: 2/25/2020

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                                                                                       HAYWOOD S. GILLIAM, JR.
                                  27                                                   United States District Judge
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